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                                             #:40



 1   SO. CAL. EQUAL ACCESS GROUP
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     DEONDRE RAGLIN
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     DEONDRE RAGLIN,                                   Case No.: 2:22-cv-02975-DSF-MARx
11
12                Plaintiff,
                                                       NOTICE OF VOLUNTARY
13         vs.                                         DISMISSAL OF ENTIRE ACTION
                                                       WITHOUT PREJUDICE
14
     MGMJ LLC; DOES 1 to 10,
15
                  Defendants.
16
17
           PLEASE TAKE NOTICE that DEONDRE RAGLIN
18
      (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
19
     voluntarily dismisses the entire action without prejudice pursuant to Federal Rule of Civil
20
     Procedure Rule 41(a)(1) which provides in relevant part:
21
22         (a) Voluntary Dismissal.

23                (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
24                       and any applicable federal statute, the plaintiff may dismiss an action
25                       without a court order by filing:
26                       (i)     A notice of dismissal before the opposing party serves either an
27                               answer or a motion for summary judgment.
28


                                                   1
        NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
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 1   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3   Court.
 4
 5   DATED: August 12, 2022                SO. CAL. EQUAL ACCESS GROUP
 6
 7                                  By:      /s/ Jason J. Kim
 8                                        Jason J. Kim, Esq.
                                          Attorneys for Plaintiff
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        NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
